 Case 13-17148-KCF             Doc 18 Filed 05/23/13 Entered 05/24/13 03:19:15                       Desc Imaged
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Form 154 − ntcabn72

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
402 East State Street
Trenton, NJ 08608

                                     Case No.: 13−17148−KCF
                                     Chapter: 7
                                     Judge: Kathryn C. Ferguson

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Adam K. Gonzalez
   400 Chamberlain St.
   South River, NJ 08757
Social Security No.:
   xxx−xx−6489
Employer's Tax I.D. No.:


                                  NOTICE OF PROPOSED ABANDONMENT

       Peggy E. Stalford, Trustee for the above−captioned case, has filed a notice of intent to abandon certain
property described below as being of inconsequential value to the estate.
       If any creditor or other party in interest has an objection to the proposed abandonment, the objection and a
request for a hearing on such objection shall be in writing, served upon the Trustee and filed with the Clerk of the
United States Bankruptcy Court. Such objection and request shall be filed with the Clerk and served upon the Trustee
no later than June 10, 2013.
       In the event an objection is timely filed, a hearing will be held before the Honorable Kathryn C. Ferguson on
DATE:                    June 18, 2013
TIME:                    11:00 am
COURTROOM:               #2

     If no objection is filed with the Clerk and served upon the Trustee on or before June 10, 2013, the
abandonment will take effect on the fifth day following the last day to file objections.



The description of the property to be abandoned is as follows:
Trustee abandons her interest in the
following property :
2313 3rd Avenue
Toms River, NJ
$180,000.00

The liens on the property to be abandoned are as follows
(including amount claimed due):
GMAC Mortgage
$240,000.00

The amount of equity claimed as exempt by the debtor is:


     Request for additional information about the property to be abandoned should be directed to the Trustee at:
Peggy E. Stalford
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1516 Highway 138
Suite 2B
Wall Twp, NJ 07719
(732) 894−9090

     or the trustee's attorney (if applicable) at:




Dated: May 21, 2013
JJW:

                                                       James J. Waldron
                                                       Clerk
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                                                United States Bankruptcy Court
                                                   District of New Jersey
 In re:                                                                                                     Case No. 13-17148-KCF
 Adam K. Gonzalez                                                                                           Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0312-3                  User: jyoungke                     Page 1 of 2                          Date Rcvd: May 21, 2013
                                       Form ID: 154                       Total Noticed: 19


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 May 23, 2013.
 db            +Adam K. Gonzalez,    400 Chamberlain St.,     South River, NJ 08757-5227
 pp            +Diane Moniz,    Midland Paralegal Services LLC,     80 Broad Street,    Phillipsburg, NJ 08865-1207
 513814350     +CAPITAL ONE,    POB 30253,    SALT LAKE CITY UT 84130-0253
 513814348     +CAPITAL ONE - BEST BUY,     POB 30253,    SALT LAKE CITY UT 84130-0253
 513814349     +CAPITAL ONE BANK USA NA,     POB 30253,    SALT LAKE CITY UT 84130-0253
 513814352     +CECRB - JC PENNY,    POB 965007,    ORLANDO FL 32896-5007
 513814351     +CECRB - TOYS R US,    POB 965007,    ORLANDO FL 32896-5007
 513814353     +CECRB - WALMART,    POB 965024,    ORLANDO FL 32896-5024
 513814355     +GMAC MORTGAGE,    POB 4622,    WATERLOO IA 50704-4622
 513814356     +HOME DEPOT,    POB 6497,    SIOUX FALLS SD 57117-6497
 513814358   ++PORTFOLIO RECOVERY ASSOCIATES LLC,       PO BOX 41067,   NORFOLK VA 23541-1067
               (address filed with court: PORTFOLIO RECOVERY,       120 CORPORATE BLVD,    NORFOLK VA 23502)
 513814360     +TARGET,   POB 673,    MINNEAPOLIS MN 55440-0673
 513814361     +THE BUREAUS,    1717 CENTRAL ST,    EVANSTON IL 60201-1590

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 smg          +E-mail/Text: leah.bynon@usdoj.gov May 21 2013 20:52:24       U.S. Attorney,    970 Broad St.,
                Room 502,   Rodino Federal Bldg.,    Newark, NJ 07102-2523
 smg          +E-mail/Text: ustpregion03.ne.ecf@usdoj.gov May 21 2013 20:51:37       United States Trustee,
                Office of the United States Trustee,    1085 Raymond Blvd.,    One Newark Center,    Suite 2100,
                Newark, NJ 07102-5235
 513904538    +E-mail/Text: bnc@atlasacq.com May 21 2013 20:43:49      Atlas Acquisitions LLC,     294 Union St.,
                Hackensack, NJ 07601-4303
 513814347    +E-mail/Text: ebn@squaretwofinancial.com May 21 2013 20:59:27       CACH LLC,
                4340 S MONACO, 2ND FL,    DENVER CO 80237-3408
 513814354    +E-mail/PDF: gecsedi@recoverycorp.com May 21 2013 20:46:10       GEMB - AMAZON,    POB 965015,
                ORLANDO FL 32896-5015
 513814357    +E-mail/Text: bnckohlsnotices@becket-lee.com May 21 2013 20:33:36       KOHLS,    POB 3115,
                MILWAUKEE WI 53201-3115
                                                                                                TOTAL: 6

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: May 23, 2013                                       Signature:
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District/off: 0312-3         User: jyoungke               Page 2 of 2                  Date Rcvd: May 21, 2013
                             Form ID: 154                 Total Noticed: 19


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 21, 2013 at the address(es) listed below:
              Joel A. Ackerman   on behalf of Creditor   Ocwen Loan Servicing, LLC jackerman@zuckergoldberg.com
              Peggy E. Stalford   pstalford@pstrustee.com, nj10@ecfcbis.com;ysylvester@pstrustee.com
                                                                                            TOTAL: 2
